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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

EDMOND LEBLANC,

       Plaintiff,

v.                                                          Case No: 5:18-cv-5-Oc-30PRL

SYNCHRONY BANK,

       Defendant.


                                          ORDER

       The Court has been advised via a Notice of Pending Settlement (Dkt. 12) that the

above-styled action has been settled. Accordingly, pursuant to Local Rule 3.08(b), it is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED without

prejudice and subject to the right of the parties, within sixty (60) days of the date of this

order, to submit a stipulated form of final order or judgment should they so choose or for

any party to move to reopen the action, upon good cause shown. After that 60-day period,

however, dismissal shall be with prejudice. All pending motions, if any, are DENIED as

moot. The Clerk is directed to close the file.

       DONE and ORDERED in Tampa, Florida, this 31st day of May, 2018.




Copies furnished to:
Counsel/Parties of Record
